Case 2:22-cv-00880-NAD Document 1 Filed 07/15/22 Page 1 of 12            FILED
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Case 2:22-cv-00880-NAD Document 1 Filed 07/15/22 Page 2 of 12
Case 2:22-cv-00880-NAD Document 1 Filed 07/15/22 Page 3 of 12
Case 2:22-cv-00880-NAD Document 1 Filed 07/15/22 Page 4 of 12
Case 2:22-cv-00880-NAD Document 1 Filed 07/15/22 Page 5 of 12
Case 2:22-cv-00880-NAD Document 1 Filed 07/15/22 Page 6 of 12
Case 2:22-cv-00880-NAD Document 1 Filed 07/15/22 Page 7 of 12
Case 2:22-cv-00880-NAD Document 1 Filed 07/15/22 Page 8 of 12
Case 2:22-cv-00880-NAD Document 1 Filed 07/15/22 Page 9 of 12
Case 2:22-cv-00880-NAD Document 1 Filed 07/15/22 Page 10 of 12
Case 2:22-cv-00880-NAD Document 1 Filed 07/15/22 Page 11 of 12
Case 2:22-cv-00880-NAD Document 1 Filed 07/15/22 Page 12 of 12
